                                                                                Motion GRANTED.
                                                                                Change of plea hearing
                                                                                RESET for 3/7/2017 at
                                                                                10:30 a.m.
                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRIC OF TENNESSEE
                           NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
VS.                                           )       CASE NO.: 3:16-cr-143
                                              )
                                              )
MICHAEL THOMPSON                              )       JUDGE TRAUGER

               MOTION TO RESET CHANGE OF PLEA HEARING
       Comes now the Defendant, Mr. Michael Thompson, by and through undersigned

counsel of record, Mr. Manuel B. Russ, and moves this Honorable Court to reset his

change of plea hearing from February 22nd, 2017, at 2 P.M. Mr. Thompson has had

several alterations to his plea agreement and the defense feels that additional time to

review and explain these changes is necessary to permit a fully knowing and voluntary

plea. Subject to the Court’s calendar and approval, the defense and the Government have

selected March 9th, 2017, as a mutually agreeable date to reschedule this matter. If this

date is not acceptable with the Court’s calendar, other mutually agreeable dates are also

available.



                                                      Respectfully Submitted,



                                                      /s/ Manuel B. Russ_______
                                                      Manuel B. Russ #23866
                                                      Attorney for the Defendant
                                                      340 21st Avenue North
                                                      Nashville, TN 37203
                                                      (615) 329-1919




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